                      IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

JASON WILLIAMS,

         Plaintiff,                           Case No. 5:19-cv-00475-BO

vs.

AT&T MOBILITY LLC,

         Defendant.

                        DECLARATION OF JOSEPH S. DOWDY

         I, Joseph S. Dowdy, declare the following:

         1.       I am an attorney in good standing admitted to the North Carolina Bar.

I am counsel to Defendant AT&T Mobility LLC (“AT&T”) in the above-captioned

action. I provide this declaration in response to the Court’s March 15, 2022 text

order to provide an additional status update to the Court, and in support of AT&T’s

Certificate of Service filed on this date (Dkt. 115).

         2.       Pursuant to the Court’s instructions, my office served the March 15,

2022 text order by hand delivery and email. We also sent, by the same methods,

copies of AT&T’s Status Report (Dkt 114), and a letter addressed to Anexio with

details regarding the March 17, 2022 hearing.

         3.       True and accurate copies of the affidavits of service received from the

courier who delivered the materials by hand delivery are filed at Dkt. 115-1, pages 2

and 3.




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       4.       True and accurate copies of the return receipt my paralegal received

from Tony Pompliano, followed by the email she sent conveying the materials and

requesting that return receipt are filed at Dkt 115-1, pages 4 and 5.

       5.       Given the seriousness of the matter, at 5:28 p.m. on March 16, 2022, I

also placed a personal call to a number my office has on file for Tony Pompliano. I

believe the number to be a good contact number because, on August 19, 2021, we

received a call from Mr. Pompliano using that phone number.

       6.       Mr. Pompliano did not answer my call of yesterday, and I was

prompted to leave a voicemail, which I did.         My message indicated the time,

location, and subject matter of this Court’s hearing on March 17, 2022, and stated

that the matter is very serious and may have consequences if not addressed, and

requested that Mr. Pompliano attend the hearing or, at a minimum call me on my

office line.

       7.       As of this filing, my office has received no response to the service

materials or the voicemail other than the email read-receipt.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on this 17th day of March, 2022.



                                         /s/ Joseph S. Dowdy
                                         Joseph S. Dowdy
                                         N.C. State Bar 31941




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